                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

GERALDINE DUNN                                       CIVIL ACTION

VERSUS                                               NO. 17-12777

APACHE INDUSTRIAL                                    SECTION: "B"(2)
SERVICES, INC. ET. AL.

                           ORDER AND REASONS

       Before the Court is Defendant Apache Industrial Services,

Inc.’s (“Defendant Apache”) Motion to Dismiss (Rec. Doc. 15),

Plaintiff Geraldine Dunn’s Response in Opposition (Rec. Doc. 40),

and Defendant Apache’s Reply (Rec. Doc. 47). For the reasons

discussed below,

       IT IS ORDERED that Defendant Apache’s motion to dismiss is

GRANTED.

FACTS AND PROCEDURAL HISTORY

       Plaintiff is approximately 40-years old and a resident of the

parish of East Baton Rouge, Louisiana. See Rec. Doc. 1 at 2. In or

around June 2016, she was employed as a bus driver and painter for

Defendant Apache, a foreign corporation with its principal place

of business in Texas and subcontractor for Defendant Phillips 66

Company (“Defendant Phillips”). See id. at 3. Plaintiff alleges

that     Defendant    Apache,   along   with   Defendant    Phillips,

discriminated against her, retaliated against her, and wrongly

terminated her. See id.



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     On   or   around   August   8,   2016,   Plaintiff   began   working   a

turnaround job for Defendant Apache. See id. Plaintiff, who claims

approximately 15 years of experience, alleges that she was earning

$19.00 per hour while her male counterparts were earning $23.00

per hour. See id. Plaintiff further alleges that she spoke with

management about raising her hourly pay to $23.00 on more than one

occasion. See id. She was told that her hourly pay would be

increased to $23.00 but she never received an increase. See id.

She states that she was subsequently subjected to harassment and

discrimination. See id. Specifically, she states that she was

forced to performed additional duties that other male employees

were not required to perform and yelled at in front of other male

employees. 1 See id. at 4.

     On or around October 13, 2016, Plaintiff filed an Equal

Employment      Opportunity      Commission       (“EEOC”)      Charge      of

Discrimination (“October 2016 Charge”) alleging unfair treatment.

See id. On or around October 24, 2016, Plaintiff attended a meeting

with safety management to discuss knee pain. See id. She was given

two days off from work. See id. She returned to work on October

27, 2016 and was terminated. See id. Plaintiff “believes that she




1 Plaintiff alleges in her Complaint that on or around September 28, 2016 a

supervisor brought paint to the work area for other male employees only.
Plaintiff was told to get her own paint and when she asked why, the supervisor
began to yell at her. See Rec. Doc. 1 at 4.

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was terminated in retaliation and as a result of her filing an

EEOC Charge of [D]iscrimination. 2” See id.

      On November 28, 2016, Plaintiff filed another EEOC Charge of

Discrimination       (“November     2016        Charge”)        alleging        gender

discrimination,      retaliation,    and      unequal    pay.      See   id.    at   5.

Plaintiff explained the facts surrounding her allegations (being

paid less than her male counterparts and yelled at by her male

supervisor)    and    named   Defendant       Apache    as   the    employer      that

discriminated against her. See Rec. Doc. 15-3 at 1.

       On January 4, 2017, Plaintiff filed another EEOC Charge of

Discrimination       (“January    2017       Charge”)    alleging        retaliatory

wrongful termination. See Rec. Doc. 1 at 13-14. Plaintiff explained

the facts surrounding her allegation (that she filed an EEOC Charge

of   Discrimination     and   subsequently       was    discharged)       and    named

Defendant Apache as the employer that discriminated against her.

See Rec. Doc. 15-3 at 1. Plaintiff also mentioned that she was

told she was being discharged because “[Defendant Phillips] did

not want [her] on their property” and that she thought she was

being discharged “in retaliation for filing [November 2016 Charge]

. . ..” Rec. Doc. 15-4 at 1.



2 There is ambiguity as to which charge Plaintiff is referencing. See FN 4

(explaining the ambiguity). Even though Plaintiff fails to fully mention the
October 2016 Charge, Plaintiff must be referring to that charge because it is
hard to imagine that Plaintiff was terminated on October 27, 2016 for the
November 2016 Charge or the January 2017 Charge as those two Charges were filed
after her termination occurred.

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      On August 20, 2017, Plaintiff received a “Dismissal and Notice

of   Rights”     for    “both    of    her    aforementioned      Charges     of

Discrimination 3.” Rec. Doc. 1 at 5. Exactly three months after

receiving her “Notice of Right to Sue” letter from the EEOC,

November 20, 2017, Plaintiff filed her Complaint. 4 On April 03,

2018, Defendant Apache filed a motion to dismiss for failure to

state a claim in lieu of an answer. See Rec. Doc. 15. On May 17,

2018, Plaintiff filed a response in opposition. See Rec. Doc. 40.

On May 24, 2018, Defendant Apache filed for leave to file a reply.

See Rec. Doc. 43. On May 29, 2018, Defendant Apache’s reply was

added to the record. See Rec. Doc. 47.

LAW AND ANALYSIS


3   There is ambiguity in the phrase “both of her aforementioned Charges of
Discrimination.” Specifically, it is unclear which two charges Plaintiff is
referring to when she writes “both.” Plaintiff uses the phrase for the first
time at Rec. Doc. 1 at 5. At that point, she has only mentioned two charges,
October 2016 Charge and November 2016 Charge. See Rec. Doc. 1 at 4-5. Plaintiff
uses the phrase two more times at Rec. Doc. 1 at 7, 8. At those points, she has
mentioned three charges. It seems that she is using “both” to refer November
2016 Charge and January 2017 Charge, not October 2016 Charge. Plaintiff refers
to October 2016 Charge once and makes no mention of it being attached to her
Complaint as an exhibit. See id. at 4. Plaintiff refers to the other two charges,
November 2016 Charge and the January 2017 Charge, throughout her Complaint and
states that true and accurate copies are attached. See id. at 5, 6, 8. However,
there is still some ambiguity because there are no exhibits attached to her
Complaint and Plaintiff only mentions the October 2016 Charge and November 2016
Charge in her Response. See Rec. Doc. 1; Rec. Doc. 41 at 2. Defendant Apache
attached only November 2016 Charge (Rec. Doc. 15-3) and January 2017 Charge
(Rec. Doc. 15-4) to its motion to dismiss. So, it may be that those two charges
are the material charges in this case. The ambiguity surrounding this issue can
be solved with a copy of the “Dismissal and Notice of Rights” letter, Plaintiff’s
suppose-to-be-attached Exhibit C.
4 Plaintiff brings her claims under (1) Title VII of the Civil Rights Act of

1964; (2) the Equal Pay Act of 1963; (3) the Age Discrimination in Employment
Act of 1967; (4) Louisiana Civil Code Article 2315; (5) the Louisiana
Whistleblower Statute, LA Rev Stat § 23:967. Plaintiff also seeks damages under
the Equal Rights Under the Law, 42 U.S.C. § 1981(a); Retaliation, 29 U.S.C. §
215 (a)(3); and Reasonable Attorney Fees, 29 U.S.C. § 216 (b). See Rec. Doc. 1
at 4-10.

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       A. Motion to Dismiss Standard

       Rule 12(b)(6) of the Federal Rules of Civil Procedure allows

a party to move for dismissal of a complaint for failure to state

a claim upon which relief can be granted. To survive a motion to

dismiss under Rule 12(b)(6), a plaintiff’s complaint “must contain

‘enough facts to state a claim to relief that is plausible on its

face.’” Varela v. Gonzalez, 773 F.3d 704, 707 (5th Cir. 2014)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In

other words, a plaintiff’s “[f]actual allegations must be enough

to raise a right to relief above the speculative level.” Twombly,

550   U.S.   at    555.   “A   claim    has      facial   plausibility      when   the

plaintiff pleads factual content that allows the court to draw the

reasonable      inference      that    the       defendant    is   liable   for    the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citing Twombly, 550 U.S. at 556).

      When deciding whether a plaintiff has met his or her burden,

a court “accept[s] all well-pleaded factual allegations as true

and interpret[s] the complaint in the light most favorable to the

plaintiff, but ‘[t]hreadbare recitals of the elements of a cause

of    action,     supported     by    mere       conclusory    statements’    cannot

establish       facial    plausibility.”           Snow   Ingredients,      Inc.    v.

SnoWizard, Inc., 833 F.3d 512, 520 (5th Cir. 2016) (quoting Iqbal,

556 U.S. at 678) (some internal citations and quotation marks



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omitted). Plaintiff must “nudge[] [his or her] claims across the

line from conceivable to plausible.” Twombly, 550 U.S. at 570.

       B. ADEA Claims

       To bring a claim under the ADEA, a plaintiff must first

exhaust his or her administrative remedies. See Patterson v.

Houston Indep. Sch. Dist., 2012 U.S. Dist. LEXIS 192253 *1, *20

(S.D. Tex. 2012) citing to Jefferson v. Christus St. Joseph Hosp.,

374 F. App’x 485, 489-90 (5th Cir. 2010); Julian v. City of

Houston, Tex., 314 F.3d 721, 725 (5th Cir. 2002). To properly

exhaust their administrative remedies, the employee must file a

charge with the EEOC. See Pacheco v. Mineta, 448 F.3d 783, 788

(5th Cir. 2006). The primary purpose of this exhaustion requirement

is to trigger both the investigatory and conciliatory procedures

of the EEOC, in attempt to reach a non-judicial resolution of the

alleged discrimination. See id. at 789.

       While the Fifth Circuit does not require a plaintiff to check

a certain box, recite specific language, or allege a [prima face]

case before the EEOC, it does expect that after a “somewhat

[broad]” reading of the charge, it can reasonably identify claims

expected to grow from the charge. See id. at 792. The claims

expected to reasonably to from the charge set the scope of the

plaintiff’s complaint. See Clayton v. Rumsfeld, 106 Fed. Appx.

268,   271   (5th   Cir.   2004).   In   other   words,   the   scope   of   a

plaintiff’s complaint is limited by the scope of their EEOC charge.

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See id. If plaintiffs were allowed to go beyond the scope of their

charges, the primary purpose of the exhaustion requirement would

be circumvented, and the charged party would be deprived of notice.

See id.

      Plaintiff’s Complaint does not contain sufficient facts to

state     that   Plaintiff   properly    exhausted    her   administrative

remedies by first filing an EEOC charge asserting allegations of

age   discrimination.    Specifically,    in   her   Complaint,   Plaintiff

states that she filed an EEOC Charge on or around October 13, 2016,

alleging unfair treatment; filed another EEOC Charge on or around

November 28, 2016, alleging gender discrimination, retaliation,

and equal pay; and filed another EEOC Charge on January 4, 2017,

alleging retaliatory wrongful termination. See Rec. Doc. 1 at 4-

8. She makes no mention of filing an EEOC charge alleging age

discrimination. Instead, Plaintiff argues that she was over 40

years of age at the time she filed the November 2016 Charge. That

conclusory statement fails to plausibly establish that Plaintiff

properly exhausted her administrative remedies.

      Her arguments do not establish that she filed an EEOC Charge

asserting allegations of age discrimination. First, her argument

that she “may not have been fully aware . . .” and “was unschooled

and unsophisticated in the use of the EEOC forms” is unconvincing.

Rec. Doc. 40, pg. 4. Plaintiff failed to check the “age” box on

the form but checked several other boxes. See Rec. Doc. Nos. 15-

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3, 15-4. Plaintiff even checked the “other” box to specify grounds

of discrimination not on the form. See id. This Court is not

holding that Plaintiff was required to check the “age” box but is

using Plaintiff’s checking of several other boxes to dismiss

Plaintiff’s     “unschooled     and    unsophisticated”      argument.     If

Plaintiff held enough schooling and sophistication to specify

additional grounds of discrimination, she held the same to check

boxes for grounds already on the form.

      Next, Plaintiff’s claim that she “identified her age on the

[charges], but did not realize that she needed to include each and

every detailed fact . . .” is unconvincing. Rec. Doc. 40, pg. 4.

She merely inserted, at the top of the charge forms, the year she

was born along with her name, phone number, and address. See Rec.

Doc. Nos. 15-3, 15-4. Plaintiff failed to assert any allegations

of age discrimination on any of the EEOC Charges provided to this

Court 5. An ADEA claim against Defendant Apache cannot reasonably

be expected or presumed to arise from the foregoing. Therefore,

Plaintiff’s ADEA claims are dismissed as they are outside of the

scope of her EEOC Charges and thereby outside of the scope of her

Complaint. See Pacheco, 448 F.3d at 789 citing to Young v. Houston,

906 F.2d 177 (5th Cir. 1990) (holding that a sex discrimination




5 The Court relied on unopposed copies of charge forms filed as attachments by
Defendants because Plaintiff failed to attach any EEOC Charges to her
Complaint.

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claim had not been exhausted by the plaintiff's charge of race and

age discrimination).

      C. LA. Civil Code Article 2315 and LA. R.S. 23:967 Claims

      Article 2315 is subject to the prescriptive period set out in

Article 3492. See LA. CIV. CODE ANN. art. 3492. R.S. 23:967 is also

subject to the prescriptive period set out in Article 3492. See

Lefort   v.    Lafourche   Parish   Fire    Protection    Dist.   No.   3,   39

F.Supp.3d 820 (E.D. La. 2014). Article 3492 lays out “a liberative

prescription period of one year” and provides that the one-year

prescriptive period “commences to run from the day injury or damage

is sustained.” LA. CIV. CODE ANN. art. 3492. “Liberative prescriptive

statutes, intended to protect defendants from prejudice. . . are

to be strictly construed.” Edwards v. Sawyer Indus. Plastics, Inc.,

738 So. 2d 1232, 1236 (La.App. 2 Cir. 08/18/99).

      Here, Plaintiff’s Article 2315 and R.S. 23:967 claims are

prescribed. In fact, Plaintiff does not contend that the applicable

prescription period is more than one year. See Rec. Doc. 40 at 5.

Instead, Plaintiff contends that the one-year prescriptive period

should be tolled because Defendant Apache had notice of her state

law   claims   within   the   one-year     prescriptive   period.   See      id.

Specifcally, Plaintiff mistakenly relies heavily on a Louisiana

Supreme Court case, Maquar v. Transit Mgmt. of Southeast La., Inc.

593 So. 2d 365 (La. 1992). In Maquar, the issue was whether, under

Article 3492, the filing of the Plaintiff’s worker compensation

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claim with the Office of Worker’s Compensation Administration

(“OWCA”) interrupted prescription on the delictual action for

retaliatory discharge penalties. 593 So. 2d at 368. The court held,

under narrow and particular facts, that the running of prescription

against the retaliatory discharge claim was tolled and plaintiff’s

action was timely, if the claim filed with OWCA included a claim

for retaliatory discharge and the employer received notice of the

retaliatory claim. See Edwards, 738 So. 2d at 1236 (explaining

Maquar) (emphasis added).

        In this case, Plaintiff fails to allege sufficient facts to

state that any of her Charges included an I.I.E.D./Article 2315

claim or       a    Whistleblower      claim     or    that   Defendant   Apache    was

adequately given notice of either of the claims. Plaintiff also

fails to offer any case law in support of her proposition that

filing a charge with the EEOC tolls the prescription period of

state    law       claims.         Therefore,    the    prescription      period    for

Plaintiff’s Article 2315 claim and R.S. 23:967 claim will not be

tolled “in accordance with the Louisiana Supreme Court Maquar case

. . ..” Rec. Doc. 40 at 7.

      The prescriptive period began to run, at the latest, on

October 27, 2016, allowing Plaintiff to bring her state law claims

no   later     October       27,   2017.   Plaintiff      filed   her   Complaint    on

November 20, 2017, after the time required by statute. Both claims

are prescribed and thereby are dismissed.

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         D. 42 U.S.C. § 1981 Claims

         42 U.S.C. § 1981, in relevant part, states that “All persons

within the jurisdiction of the United States shall have the same

right(s) . . . as is enjoyed by white citizens . . ..” This statute

was enacted with the Thirteenth Amendment and Fourteenth Amendment

in mind. Specifcally, the statute’s purpose is to protect classes

of people who are subjected to intentional discrimination solely

because of their ancestry or ethnic characteristics. See Rhyce v.

Martin, 173 F. Supp. 2d 521, 529 (E.D. La. 2001) citing to St.

Francis College v. Al-Khazraji, 481 U.S. 604, 6113 (1987).

         To prove a prima face case of discrimination under 42 U.S.C.

§ 1981, a plaintiff must establish that (1) he or she is a member

of   a    racial    minority,    (2)   the    defendant     had   an   intent   to

discriminate on the basis of race, and (3) the discrimination

concerned at least one of the rights enumerate in the statute. See

Dunaway v. Cowboys Nightlight, Inc., 436 Fed. Appx. 386, 390 (5th

Cir. 2011) (emphasis added). As established by both the U.S.

Supreme Court and the Fifth Circuit, a plaintiff need not establish

a prima facie case of discrimination to survive a motion to

dismiss. See Johnson v. Mixon, 2013 U.S. Dist. LEXIS 111317 *1, *8

(E.D. La. 2013). However, a plaintiff must allege sufficient facts

to establish “an inference that [he or she] was discrimination

against [because of their] race.” See id at *9. (emphasis added).

Courts     have    generally    excluded     gender   and   age   discrimination

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claims from within the scope of 42 U.S.C. § 1981. See e.g., Hawkins

v. 1115 Legal Service Care, 163 F.3d 684, 693 (2d Cir. 1998); Jones

v. Bechtel, 788 F.2d 571, 574 (9th Cir. 1986); Bobo v. ITT,

Continental     Baking    Co.,    662    F.2d    340,    342    (5th    Cir.    1982);

Manzanares v. Safeway Stores, Inc., 593 F.2d 968, 971 (10th Cir.

1979); Bates v. Carborundum Co., 623 F. Supp. 613, 619-20 (N.D.

Ind. 1985); Boddorff v. Publicker Industries, Inc., 488 F. Supp.

1107, 1110 (E.D. Pa. 1980).

      Plaintiff’s Complaint seeks damages pursuant to 42 U.S.C. §

1981(a)   but   does     not    allege   any    facts    showing       that    she    was

discriminated    against       because    of    her   race.    See     Rec.    Doc.    1.

Plaintiff’s     Response       avers    that,   within    the    context       of     her

Complaint, “it is quite clear” that she “intended to reference 42

U.S.C.    §   1981a”   because     she    “references      multiple       times       the

Plaintiff’s damages of emotional distress.” Id. at 9. This argument

is unconvincing. “42 U.S.C. § 1981(a)” is written throughout

Plaintiff’s Complaint approximately 8 times. See id. at 4-11. This

Court reads Plaintiff’s Complaint as it is written. 6

      Absent factual allegations in the complaint (or the EEOC

Charges) that tend to show race-based discrimination against her,

Plaintiff’s 42 U.S.C. § 1981 claims are dismissed with prejudice.

See Johnson, 2013 U.S. Dist. LEXIS 111317 at *9; compare also,



6 Plaintiff may seek leave to amend her Complaint if she’s able to
demonstrate, in good faith, factual and legal support.

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Domino's Pizza, Inc. v. McDonald, 546 U.S. 470, 476, 126 S. Ct.

1246, 1250, 163 L. Ed. 2d 1069 (2006), Foley v. Univ. of Houston

Sys., 355 F.3d 333, 339 (5th Cir. 2003), and Colesanti v. St.

Patrick's   Home, No.   92   Civ.    0657,   1992   WL   167389   at   *3

(S.D.N.Y.1992).



     New Orleans, Louisiana, this 24th day of December, 2018.




                                ___________________________________
                                SENIOR UNITED STATES DISTRICT JUDGE




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